        Case 1:21-cr-00175-TJK Document 180-8 Filed 09/20/21 Page 1 of 2




                                                        U.S. Department of Justice

                                                        Channing D. Phillips
                                                        Acting United States Attorney

                                                        District of Columbia

                                                        Judiciary Center
                                                        555 Fourth St., N.W.
                                                        Washington, D.C. 20530


                                                        September 10, 2021

Via Email and Electronic File Transfer

Lisa Costner
Federal Public Defender MDNC
251 N. Main St. Suite 849
Winston-Salem NC 27101

Nicholas Smith
7 East 20th Street
Suite 4R
New York, NY 10003

                Re:    United States v. Ethan Nordean et al., Cr. No.: 21-cr-175 (TJK)

Dear Counsel:

       I write to memorialize another production related to the above-captioned case as part of the
government’s ongoing efforts to produce preliminary discovery on an expedited basis.
Specifically, today, the government produced certain materials from the case file (referred to as
Sentinel files) maintained by the Federal Bureau of Investigation for defendant Joseph Biggs.
These materials were separately provided to counsel for Mr. Biggs.

       To facilitate and expedite this “cross-discovery” of case file materials to co-defendants, all
of the materials produced from a co-defendant’s case file have been designated as (at
minimum) Sensitive pursuant to the Protective Orders entered in this case (ECF 83 and 103),
unless the materials are designated Highly Sensitive, in which case that designation applies.

       These designation is reflected in the folder structure on USAfx. For example, materials
from case files of Defendant Biggs that were originally produced to Defendant Biggs without a
designation are produced to all defendants today in a folder titled “BIGGS Sentinel Files Round 2
– SENSITIVE as to NORDEAN, REHL, and DONOHOE.”

       An index for the produced materials has been included with the production.
        Case 1:21-cr-00175-TJK Document 180-8 Filed 09/20/21 Page 2 of 2




       Please keep in mind that all of the items placed in the USAfx case-folder will be deleted
automatically – some in as few as 60 days. Please let me know immediately if you have been
unable to access and download the materials for your use in this case.

       Please contact me should you have any questions or concerns.


                                                   Sincerely yours,

                                                   CHANNING D. PHILLIPS
                                                   ACTING UNITED STATES ATTORNEY

                                            By:           /s/
                                                   Luke M. Jones
                                                   Assistant United States Attorney
                                                   555 4th Street, N.W.
                                                   Washington, D.C. 20530
                                                   (202) 252-7066
                                                   luke.jones@usdoj.gov



cc:    J. Daniel Hull
       Hull McGuire PC
       888 Seventeenth Street, NW
       Suite 1200
       Washington, DC 20006




                                               2
